                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         DOREACE S. MARTIN and
         NICOLE P. MARTIN,                                   Case No. 16-30007
                                                             Chapter 13 Proceeding
            Debtors.                                         Hon. Daniel S. Opperman
_____________________________________/


   OPINION REGARDING OBJECTION OF OCWEN LOAN SERVICING, LLC TO
CONFIRMATION OF DEBTORS’ AMENDED PRE-CONFIRMATION CHAPTER 13 PLAN

                                               Facts

         Before the Court is the Objection of Ocwen Loan Servicing, LLC (“Ocwen”) to the Debtors’

Amended Pre-Confirmation Chapter 13 Plan filed on April 28, 20161 (“Amended Plan”). Debtors

filed this Chapter 13 bankruptcy on January 4, 2016. Ocwen holds a secured interest non-residential

real property owned by the Debtors located at 2426 Gold Street, Flint, Michigan (the “Property”).

In both their original Chapter 13 Plan filed on January 19, 2016 (“Original Plan”), and the Amended

Plan, Debtors treat the secured claim of Ocwen as “Crammed,” asserting a market value for the

Property of $10,000.00 to be paid at an interest rate of 5.00% . Thus, Debtors’ treatment of Ocwen’s

secured claim did not change. The Debtors amended their Plan to address objections of the Chapter

13.

         The deadline for objections to confirmation of the Original Plan was February 23, 2016.

Ocwen did not file an objection by that deadline. Pursuant to Local Bankruptcy Rule 3015-3(a)(4),

the deadline to object to confirmation of the Amended Plan was May 26, 2016, which is 28 days

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         Docket No. 41. The Amended Pre-Confirmation Chapter 13 Plan was corrected on May
9, 2016 (Docket No. 45), to list the real property subject to Ocwen’s mortgage on the liquidation
analysis, but did not otherwise change the treatment of Ocwen’s claim.

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after Debtor served the Amended Plan. Ocwen filed its Objection to confirmation of the Amended

Plan on May 23, 2016, asserting that the value proposed by Debtors for the Property is too low, and

that the proper value is $30,000.00, and that the proposed interest rate of 5.00% is too low, and

should be 5.50% or the contractual rate of 6.375%. Ocwen’s May 23, 2016, Objection is titled:

“Objection to Confirmation of Debtors’ Amended Chapter 13 Plan.”


                                            Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334, 157(a) and E.D.

Mich. LR 83.50. This is a core proceeding under 28 U.S.C. § 157(b)(2)(L) (confirmations of plans).

                                     Analysis and Conclusion

       While Local Bankruptcy Rule 3015-3(a)(4) allows 28 days for objections to confirmation

of a modified plan, Local Bankruptcy Rule 3015-2(a)(2) requires notice and service for a proposed

modified plan that “materially and adversely affects any party in interest.” It is undisputed that

Debtors’ treatment of Ocwen’s claim did not change from the Original Plan to the Amended Plan.

Thus, there was not a material and adverse impact upon Owcen in the Amended Plan.

       The Court concludes that Ocwen’s opportunity to object to Debtors’ treatment of its claim

was by the deadline for filing such objections under the Original Plan–February 23, 2016. Because

Debtors’ treatment of Ocwen’s claim in the Amended Plan was not modified, the filing of the

Amended Plan cannot be viewed as an event resurrecting Ocwen’s right to object to confirmation.

To allow objections to confirmation in these circumstances would result in creditors having second

and perhaps more, opportunities to object to confirmation of a plan in which its treatment in the plan

remains unchanged. See In re Duncan, 245 B.R. 538, 541-43 (Bankr. E.D. Tenn. 2000). Ocwen

does not dispute it received proper notice of the deadline to object to confirmation. With proper



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notice and an opportunity to object, there is no basis to otherwise allow a late filed objection.

       Ocwen argues that Federal Rule of Bankruptcy Procedure 3015(f)2 merely requires that it

file and serve its objection before confirmation of the plan, which was done here. Ocwen reads this

part of Rule 3015(f) too simplistically and in isolation from the sentence later in this subsection

stating that confirmation may be granted if no objections are timely filed. As pointed out by the

court in Duncan, to consider late objections that are filed prior to confirmation “would lead to an

absurd result,” resulting in a lack of finality to the confirmation process. Duncan, 245 B.R. at 541

(“Carried to extremes, the confirmation process could go on ad infinitum–as soon as one objection

is resolve, but before the court actually signs the confirmation order, another objection could be

filed, and so forth. Surely this was not the intent of the Supreme Court in promulgating Fed. R.

Bankr. P. 3015(f)).

       For the above stated reasons, the Court overrules Ocwen’s Objection to Confirmation as

untimely. The Court directs Debtors to draft and submit an appropriate order.

Not for Publication
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Signed on August 05, 2016
                                                          /s/ Daniel S. Opperman
                                                        Daniel S. Opperman
                                                        United States Bankruptcy Judge




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           Federal Rule of Bankruptcy Procedure 3015(f) states:

       (f) Objection to Confirmation; Determination of Good Faith in the Absence
       of an Objection. An objection to confirmation of a plan shall be filed and served
       on the debtor, the trustee, and any other entity designated by the court, and shall
       be transmitted to the United States trustee, before confirmation of the plan. An
       objection to confirmation is governed by Rule 9014. If no objection is timely
       filed, the court may determine that the plan has been proposed in good faith and
       not by any means forbidden by law without receiving evidence on such issues.

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